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5
6
7                      IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )           CR. No.    S-05-384-WBS
                                   )
11                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
12        v.                       )
                                   )
13   JOSE ANGEL BUSTAMANTE, and    )
     SANTOS BUSTAMANTE,            )
14                                 )
                                   )
15                                 )
                    Defendants.    )
16   ______________________________)
17         Based upon the stipulation of the parties and their
18   representation that they are actively seeking resolution of this
19   case prior to the court’s consideration of the motions filed on
20   behalf of Santos Bustamante (and joined by Jose Angel Bustamante),
21   the remaining briefing schedule and non-evidentiary hearing herein
22   are rescheduled as follows:
23    - Government’s opposition to motions to be filed by July 7, 2006
24    - Optional defense reply to be filed by July 14, 2006
25    - Non-evidentiary hearing on July 26, 2006
26   ///
27   ///
28   ///

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1         As the defendants’ currently have motions pending before the
2    court, time will be excluded up to and including July 26, 2006 based
3    upon 18 U.S.C. § 3161(h)(1)(F) (pending pretrial motions).
4
5    DATED:    _________________         /s/ Victor S. Haltom
                                         VICTOR S. HALTOM
6                                        Attorney for Santos Bustamante
7
8    DATED:    _________________         /s/ Dina s. Santos
                                         DINA S. SANTOS
9                                        Attorney for Jose Angel Bustamante
10
11   DATED:    _________________         McGREGOR W. SCOTT
                                         United States Attorney
12
13
                                         By:________________________
14                                            MARY L. GRAD
                                              Assistant U.S. Attorney
15
16
17   SO ORDERED.
18
19   Dated:    June 15, 2006
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21
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